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                                  UNITED STATES DISTRICT COURT
 9
                                SOUTHERN DISTRICT OF CALIFORNIA
10
11        UNITED STATES OF AMERICA,                        Case No.: 21MJ8239
12
                                       Plaintiff,          COMPLAINT FOR VIOLATION OF:
13
                 V.                                        Title 26 U.S .C. §§ 5861
14
                                                           Possession or Transfer of Item That
15        Brian Mathew THIBODEAU,                          Must Be Registered Through the Nation
                                                           Firearms Act. (Felony)
16
                                       Defendant.
17
18
19              The undersigned complainant being duly sworn states:
20
                On or about March 26, 2021, within the Southern District of California, defendant,
21
     II
22 Brian Mathew THIBODEAU, did knowingly and intentionally import or possess an item

23 11 (suppressor/silencer) regulated under the National Firearms Act, in the United States from
24
          a place outside thereof, in violation of Title 26, United States Code, Section 1586, a felony.
25   II




26
                The complainant states that this complaint is based on the attached Probable Cause
27
28 II Declaration incorporated herein by reference.
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 1                                                      JO N T      Digitally signed by JON T
                                                                    DELLINGER

 2                                                      DELLINGER   Date:2021 .03.28
                                                                    09:48:13 -07'00'

                                                Special Agent Jon Dellinger
 3                                              Homeland Security Investigations
 4
          Sworn and attested to under oath by telephone, in accordance with Federal Rule of
 5
 611 Criminal Procedure 4 .1, this _ 29
                                     _ day of March, 2021.

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 8
                                                HON. RUTH BERMUDEZ MONTENEGRO
 9                                              U.S. MAGISTRATE JUDGE
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 1
     UNITED STATES OF AMERICA
 2
     V.
 3
     Brian Mathew THIBODEAU
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 5
                                                  PROBABLE CAUSE STATEMENT
 6
              I, Special Agent Jon Dellinger, declare under penalty of perjury, the following is true and correct:
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              On or about On March 19, 2021 Agents with the Homeland Security Investigations Imperial Valley Border Enforcement
 8   Security Task Force (" IVBEST") received information from United States Custom and Border Protection ("CBP" ) that a firearm
 9   silencer was intercepted in a parcel ("Subject Parcel") at the Los Angeles International Mail Facility (IMF) in the Los Angeles,

10 California area. The package was addressed to Brian Thibodeau and provided a phone number of 442-271-1835. Special Agent

11   (SA) Jon Dellinger was able to identify the likely recipient of the package Brian Thibodeau (DOB 03/ 14/2001) and verify the

12   number listed on the package belonged to a Brian Thibodeau, as well as his family/cohabitants of the 614 S. Imperial Ave,

13   Imperial , CA. SA Eric Flores and Dellinger contacted Bureau of Alcohol, Tobacco, Firearms, and Explosives (A TF) Special

14   Agent Kai Saferson, who has specialized training and knowledge in firearms, firearms accessories and ammunition inspected the

15   suspected silencer and deemed it was in fact a true silencer. Agent Saferson told Special Agent (SA) Eric Flores, the silencer

16   inside the Subject Parcel was a device designed and intended to be used for silencing or reducing the noise a firearm makes.

17            On March 26, 2021 , at approximately 8:30 a.m ., HSI Task Force Officer {TFO) Javier Martinez applied for and was

     granted an anticipatory California Superior Court residential search warrant by Magistrate Judge Flores at the El Centro Court
18
     House for suspected violations of California Penal Code 33410 (Possession of Silencer). At approximately 10:30 a.m., while in
19
     an undercover capacity, TFO Martinez delivered the intercepted package addressed to THIBODEAU to the residence of614 S.
20
     Imperial Ave, Imperial, CA. TFO Martinez knocked on the front door and was met by a white male adult that fit the likeness
21
     and description of THIBODEAU. TFO Martinez stated he had a package for Brian THIBODEAU. The white male adult who
22
     answered the door told TFO Martinez he was Brian and accepted the package. THIBODEAU ' s acceptance was the triggering
23
     event necessary to execute the search warrant signed by Magistrate Judge Flores.
24
              At approximately 11 :00 a.m. IV-BEST agents executed the search warrant at the residence . SA's approached the front
25
     door accompanied by Imperial Police Department J. Schaffer. SA Klein knocked on the front door and stated "Police, Search
26
     warrant, come to the door". Approximately 30 seconds after SA Klein provided a knock and notice of the residence, a side door
27
     of the residence opened and the white male adult who accepted the package walked out. The male was verbally identified as
28
     Brian THIBODEAU (DOB 03/1 4/2001). THIBODEAU was detained outside of the residence while IV-BEST agents executed

     the search warrant of the residence. During the execution of the search warrant the suppressor/silencer delivered to
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     THIBODEAU was located inside a bedroom , advised by THIBODEAU as belonging to him. The suppressor/silencer was
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     located inside of a white computer desk and out of the packaging. The original packaging delivered to THIBODEAU was
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     discovered beneath a blue trashcan under the white computer desk. Additionally, an AR-15 upper receiver was located inside
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     the room, the upper receiver was complete with a bolt-carrying group necessary to chamber and expend ammunition when
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     attached to a lower receiver. SA's also discovered in a dresser in THIBODEAU ' s room a lower parts kit (trigger group, pins,
 5
     and spring), buffer tube, spring, pistole grip, and buffer. These items are all necessary to build an operational AR-15 style rifle.
 6
     Several boxes of ammunition were discovered inside THIBODEAU's room . .223 caliber ammunition was located along with
 7
     9mm ammo . Additionally, several documents and books were discovered that detailed the coordination of violent attacks and
 8   white supremacist ideology.
 9             THIBODEAU was placed under arrest and transported to the IV-BEST office in Imperial, CA. THIBODEAU was

10   placed in a recorded interview room . SA Dellinger read THIBODEAU his rights under Miranda as witnessed by TFO

11   Martinez. THIBODEAU verbally acknowledged his rights and signed a Miranda form. THIBODEAU waived his rights to

12   Miranda and agreed to speak with SA Dellinger and TFO Martinez. THIBODEAU stated he purchased the delivered

13   suppressor/silencer from aliexpress.com for approximately $25.00 USO and that it was marketed as a fuel filter. THIBODEAU

14   admitted he knew people used them as suppressors/silencers but that was not his intention. THIBODEAU went in great detail

15   how he researched the item on YouTube and web-forums all detailing the items uses and likely repercussions of purchase.

16   THIBODEAU stated he purchased the suppressor/silencer for his AR-15 rifle and was planning on using the item while

17   cleaning the rifle.

               THIBODEAU on his own brought up an incident several months prior where Federal Bureau of Investigation (FBI)
18
     Special Agents (SA) came to his residence and attempted to speak with him (THIBODEAU) but he refused to speak with FBI
19
     Agents. SA Dellinger asked THIBODEAU why the FBI came to speak with him. THIBODEAU stated he was not sure but said
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     he had posted some stuff online and that's what he believed the FBI wanted to speak with him about. THIBODEAU did not go
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     into detail about what he had posted or its nature. During the end of the interview SA Dellinger and TFO Martinez were
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     explaining to THIBODEAU he was being released with a felony citation for violation of 33410 PC. While SA Dellinger was
23
     speaking, THIBODEAU crossed his arms, sat up, and in a raised voice stated, SA Dellinger and TFO Martinez were "Federal
24
     Fucking Pigs, and this was a waste of time" . SA Dellinger calmed THIBODEAU down and THIBODEAU apologized for the
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     outburst. SA Dellinger and TFO Martinez released THIBODEAU without additional incident.
26
              Once THIBODEAU was released SA Dellinger contacted FBI SA Hillard and inquired about the FBl's interest if any
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     into THIBODEAU. Through speaking with agents from the FBI, SA Dellinger learned that THIBODEAU was a subject of
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     interest in an ongoing domestic terrorism investigation regarding white supremacy/domestic terrorism movements and


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     planning of possible violent attacks within the United States via internet-based websites. SA Dellinger advised the FBI of the
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     prejudiced documents recovered and observed during the search warrant ofTHIBODEAU' s residence. Based on this new
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     information and with conference with the United States Attorney ' s Office, a determination was made that a Probable Cause
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     arrest of THIBODEAU for violation of26 USC 5861 was warranted.
 4
              At approximately 7:45 p.m. , IV-BEST agents arrived at 614 S. Imperial Ave and contacted THIBODEAU at the front
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     door of the residence. SA Dellinger explained to THIBODEAU he was being placed under arrest for violation of 26 USC 5861.
 6
     THIBODEAU and two other residents of the home were asked to exit and stand by with SA ' s, so the residence could be held
 7
     while a search warrant was issued . The residents complied and at approximately 8:50 p.m., Judge Ulloa signed a California
 8 Superior Court residential search warrant for 614 S. Imperial Ave, Imperial , CA. The search warrant was specifically for

 9   electronic devices, cellphone, communication devices, data-storage devices, and documents related to white nationalists and

10   domestic terrorism based on THIBODEAU ' s purchase of the silencer/suppressor and items discovered during the initial search

11   warrant. The search warrant was executed, and IV-BEST agents recovered several computers, laptops, a cellphone belonging to

12   THIBODEAU, and several documents detailing THIBODEAUS involvements and likely belief in white supremist ideologies.

13   Additionally, through Agents training and experience several pipes were located, one with an end cap was discovered. The pipe

14   was consistent with pipe utilized in the construction of destructive devices (Pipe bombs).

15            THIBODEAU was arrested for violation of Title 26, United States Code, 5861.

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 4 II UNITED STATES OF AMERICA
 5 II V.
 6 II Brian Mathew THIBODEAU

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 8
              Executed on March 28, 2021 at 9:50 a.m.
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                                                                        Digitally signed by JON T
10                                                   JONT               DELLINGER
                                                                        Date : 2021 .03.28
                                                     DELLINGER          09:47:42 -07'00'
11
                                                          Jon Dellinger, Special Agent
12
                                                          Homeland Security Investigations
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15
              On the basis of the facts presented in this statement consisting of 4 pages, I find probable cause to believe that the
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      defendant named in this statement of facts committed the offense on March       26 , 202 1, in violation   of Title 26, United States
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      Code, Section 5861
18
19
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21         c:3~~~                                                                10:46 AM, Mar 28, 2021
22     Hon. Ruth Bermudez Montenegro                                         DATE/TIME

23    United States Magistrate Judge

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